






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00419-CV







In re Patrick Earl Conely







ORIGINAL PROCEEDING FROM TRAVIS COUNTY






M E M O R A N D U M   O P I N I O N




Patrick Earl Conely is an inmate in the McConnell Unit of the Texas Department of
Criminal Justice-Correctional Institutions Division.  He has petitioned this Court for a writ of
mandamus to compel the judge of the 353rd District Court of Travis County to consider and rule on
motions pending in cause number D-GN-07-001319, Patrick Earl Conely v. Texas Board of
Criminal Justice, et al.  The motions are:  (1) motion to compel discovery, filed June 4, 2008;
(2)&nbsp;motion for appointment of counsel, filed June 11, 2008; (3) motion for bench warrant to appear
by video conference, filed August 4, 2008; and (4) motion for court to rule on pending motions, filed
August 28, 2008.

The Attorney General has filed an amicus brief responding to Conely's mandamus
petition on behalf of the trial court.  The amicus concedes that the motions in question have been
filed and remain pending.  He explains the court's failure to act on the motions as follows:


The 353rd District Court of Travis County requires a hearing to be held on a motion
before it will rule on that motion.  Hearing requests are made with the Court
Administrator.  Relator failed to file his hearing requests with the Court
Administrator.  Instead, Relator made his hearing requests with the presiding judge. 
For this reason, his hearing was not scheduled.  Because no hearing was held for his
motions, the district court did not rule on them.



The amicus asserts that Conely's mandamus petition is premature "because there are other avenues
for Relator to obtain ruling[s] on his pending motions, namely, he is able to schedule hearings with
the Court Administrator of the 353rd District Court of Travis County."

Thus, we are advised by the amicus that the only thing standing between Conely and
a hearing (and ruling) on his motions is a request for hearing on the motions directed to the court
administrator. We are confident that the district court, upon receipt of this opinion, will promptly
bring Conely's hearing requests to the attention of the court administrator and instruct the
administrator to schedule a timely hearing on the motions.  Should no hearings be held and no
rulings on the motions be made within ninety days of the date of this opinion, the Court would
entertain another writ of mandamus filed by Conely at that time.

With that understanding, the petition for writ of mandamus is denied.



				__________________________________________

				J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Henson

Filed:   April 9, 2010


